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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MARY S. WILSON,                               )
                                              )
      Plaintiff,                              )     21 C 1955
                                              )
                    vs.                       )     Judge Thomas M. Durkin
                                              )
UNITED STATES OF AMERICA,                     )
U.S. DEPARTMENT OF JUSTICE,                   )
DRUG ENFORCEMENT                              )
ADMINISTRATION, and AGENTS,                   )
                                              )
      Defendants.                             )

       GOVERNMENT’S SURREPLY TO PLAITIFF’S REPLY TO
  GOVERNEMENT’S RESPONSE TO MOTION FOR RETURN OF SEIZED
                       PROPERTY

      The United States of America, by JOHN R. LAUSCH, Jr., United States

Attorney for the Northern District of Illinois, hereby submits its Response to

Plaintiffs’ Reply to Government’s Response to Motion for Return of Seized Property.

For the reasons set forth below, the government respectfully requests that plaintiffs’

motion should be denied.

                                 INTRODUCTION

      On April 12, 2021, Plaintiff Mary S. Wilson filed a motion under Federal Rule

of Criminal Procedure 41(g) seeking the return of $33,783 in seized currency or, in

the alternative, ordering the government to initiate judicial forfeiture proceedings

against the seized money. On July 1, 2021, the government filed its Response to

Plaintiff’s Motion. On August 8, 20, 2021, Plaintiff filed her Reply to Government’s
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Response to Motion for Returned Seized Property. Pursuant to court order issued on

October 14, 2021 the government should address Plaintiff’s Excessive Fines Clause

claim.

                                    ARGUMENT

I.       The government previously did not address Plaintiff’s Excessive Fines
         claim because DEA has commenced and completed an administrative
         forfeiture proceeding against the seized $33,783 and this Court
         therefore lacks jurisdiction over a Rule 41(g) motion for return of the
         forfeited currency.

         The government previously did not address Plaintiff’s Excessive Fines claim

because DEA has commenced, and completed, the legal process for administratively

forfeiting the approximately $33,783 in seized currency and the Court therefore lacks

jurisdiction over Wilson’s Rule 41(g) motion seeking, as equitable relief, the return of

that seized currency. See United States v Sims, 376 F.3d 705, 708 (7th Cir. 2004)

(“The proper office of a Rule 41(g) motion is, before any forfeiture proceedings have

been initiated, or before any criminal charges have been filed, to seek the return of

the property seized without probable cause, or property held an unreasonable length

of time without the institution of proceedings that would justify the seizure and

retention of the property.”); see also United States v. $8,050.00 in U.S. Currency, 307

F. Supp. 2d 922, 926-927 (N.D. Ohio 2004) (the comprehensive provisions enacted by

CAFRA in Section 983 give a claimant an adequate remedy at law for contesting civil

forfeiture, and accordingly once the government commences administrative forfeiture

proceeding, the Rule 41(g) motion must be dismissed).




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         Thus, now that DEA has commenced and completed an administrative

forfeiture against the approximately $33,783 in seized currency, this Court lacks

jurisdiction over Wilson’s Rule 41(g) motion for return of property.

II.      The government previously did not address Plaintiff’s Excessive Fines
         claim because the Court should decline to construe Wilson’s Rule 41(g)
         motion as a motion under 18 U.S.C. § 983(e).

         The government previously did not address Plaintiff’s Excessive Fines claim

because the court should not construe Wilson’s Rule 41(g) motion as a motion to set

aside DEA’s declaration of administrative forfeiture under 18 U.S.C. § 983(e).

Section 983(e) permits a Court to set aside a declaration of administrative forfeiture

for lack of notice of the administrative forfeiture proceedings. See § 983(e)(2). Here,

any such motion would lack any factual basis. DEA gave timely and adequate notice

of the administrative forfeiture proceedings against the seized currency to Wilson.

That Wilson received timely notice of her right to file a claim is underscored by the

fact that she timely filed a petition for remission or mitigation—which shows that she

received the notice letter advising her of her right to file a claim or such a petition.

Furthermore, Wilson has not challenged the sufficiency of the notice of forfeiture that

DEA provided to her.

III.     Even if the Court had jurisdiction to consider an Excessive Fines
         challenge to a completed administrative forfeiture matter, the
         forfeiture of criminal proceeds is not grossly disproportionate to the
         gravity of the offense giving rise to forfeiture.

         The Eighth Amendment prohibits excessive fines. See U.S. Const. amend. VIII

(“Excessive bail shall not be required, nor excessive fines imposed . . . .”). Civil

forfeitures can violate that prohibition. See Austin v. United States, 509 U.S. 602, 604,

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113 S.Ct. 2801, 125 L.Ed.2d 488 (1993). Although the Eighth Amendment does apply

to the criminal and civil forfeiture of proceeds of crime, such proceeds forfeitures are

generally held not to violate the Eighth Amendment because the forfeiture of

proceeds of the offense giving rise to forfeiture is necessarily proportionate to the

gravity of that offense. See, e.g., United States v. One Hundred Thousand & One

Hundred Twenty Dollars ($100,120), 901 F.3d 758 (7th Cir.2018) (where jury

determined that seized currency was substantially connected to illegal drug

transaction, forfeiture of the entire amount seized is not grossly disproportional to

the underlying and illegal drug activity giving rise to the forfeiture and its forfeiture

was not an excessive fine in violation of the Eight Amendment and 18 U.S.C.

§ 983(g)); United States v. Black, 526 F. Supp. 2d 870, 885 & n.10 (N.D. Ill. 2007)

(holding that Eight Amendment applies to proceeds forfeitures but that “as direct

proceeds of a crime, [proceeds forfeitures] are not disproportionate to the offense” and

concluding that the amount of proceeds forfeited in case is “directly proportional” as

“correspond[ing] to the amount that [d]efendants wrongfully diverted from” the

victim via their fraud scheme).

      But here, Wilson is not raising an Eighth Amendment challenge in connection

with a criminal or civil judicial forfeiture matter. Rather, she raised this challenge

in connection with a completed administrative forfeiture matter in which she failed

to file a timely claim and which matter, as a result, is beyond this Court’s jurisdiction

to review on this ground. If Wilson had wanted to raise an Eighth Amendment

challenge, she should have filed a claim; required the government to pursue a civil



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judicial action; and raised an Eighth Amendment challenge, on which she would bear

the burden of proof, under 18 U.S.C. § 983(g). But she cannot assert an Eighth

Amendment challenge to correct her procedural default—of knowingly and

admittedly filing a petition for remission or mitigation of forfeiture rather than a

claim—to try to resurrect this now-completed administrative forfeiture and force the

government to now litigate the merits of this case in a United States District Court.

                                  CONCLUSION

      For the reasons set forth above, the government respectfully requests that this

Court deny, on the merits, both Plaintiff Mary S. Wilson’s motion for return of

property under Rule 41(g) as well as her motion under Section 983(e).



                                              Respectfully submitted,

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